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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
JIM BOGNET, et al, Case No. 3:20-cv-215
Plaintiffs, JUDGE KIM R. GIBSON

KATHY BOOCKVAR, in her capacity as
Secretary of the Commonwealth of
Pennsylvania, et al.,

Defendants.

3 ORDER
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NOW, this SO day of October, 2020, upon consideration of the “Motion to Transfer
Related Case Pursuant to Local Rule 40” and brief in support (ECF Nos. 25, 26) filed by Defendant
Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, and in
consideration of Plaintiffs’ response in opposition (ECF No. 30), it is HEREBY ORDERED that
the Motion to transfer the case pursuant to 28 U.S.C. § 1404(b) and Local Civil Rule 40 is DENIED.
This case is not sufficiently related to Donald J. Trump for President, Inc., v. Boockvar, No. 2:20-cv-
00966, 2020 WL 5997680 (W.D. Pa. Oct. 10, 2020), or Parnell v. Allegheny County Board of Elections,
No. 2:20-cv-1570 (W.D. Pa.), and the just and efficient resolution of issues in this case will be
served by the Court deciding the issues, especially since a hearing is scheduled for 10:00 a.m.

tomorrow, October 27, 2020.

 

BY THE COURT:
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KIM R. GIBSON
UNITED STATES DISTRICT JUDGE
